Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 1 of 24 PageID #: 3
Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 2 of 24 PageID #: 4
Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 3 of 24 PageID #: 5
Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 4 of 24 PageID #: 6
Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 5 of 24 PageID #: 7
Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 6 of 24 PageID #: 8
Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 7 of 24 PageID #: 9
Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 8 of 24 PageID #: 10
Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 9 of 24 PageID #: 11
Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 10 of 24 PageID #:
                                     12
Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 11 of 24 PageID #:
                                     13
Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 12 of 24 PageID #:
                                     14
Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 13 of 24 PageID #:
                                     15
Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 14 of 24 PageID #:
                                     16
Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 15 of 24 PageID #:
                                     17
Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 16 of 24 PageID #:
                                     18
Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 17 of 24 PageID #:
                                     19
Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 18 of 24 PageID #:
                                     20
Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 19 of 24 PageID #:
                                     21
Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 20 of 24 PageID #:
                                     22
Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 21 of 24 PageID #:
                                     23
Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 22 of 24 PageID #:
                                     24
Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 23 of 24 PageID #:
                                     25
Case 1:19-cr-00037-MSM-PAS   Document 3   Filed 04/09/19   Page 24 of 24 PageID #:
                                     26
